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UNITED STATES DISTRICT COURT

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FOR THE
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CLERK, U.S. §;l$.lRlCl COURT WESTERN DISTRICT OF TENNESSEE
wis or ny .,=-Acz<se;\i
ORDER OF PRODUCTION
NO: l : 014-10014-01-'_[`
USA v. KEVIN BERNARD PEARSON
A]) Prosequendum
F()R; RE-SENTENCING HEARING
TO: USM, Westem District of TN

Wal‘d€ll, USP LE.E, U.S. PENITENTIARY, LEE COUNTY INDUSTRIAL PARK
HICKORY FLATS ROAD, PENNINGTON GAP,` VA 24277

YOU ARE HEREBY COMMANDED to have the person of

Kevin Bernard Pearson , Inmate # 193£+0-076

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by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable J ames D. Todd, U. S.
District Court Judge, for the Westem District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 3=3O a.m. on the 9th day of S€pt@mb€r , 20 05

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then and there to do, submit to, and receive whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this Writ; further, to hold him in federal
custody until disposition of this case and to produce him for such other appearances as this court

may direct.

"P_‘.`
ENTERED rnls /O DAY oF Cl//léli/Wj ,20 US" .
©WV)M A. QM

JAMEZ?.FTODD
uan srATEs DISTRICT JUDGE

Thls document entered on the docket ln compliance
with Flu|e 55 and/or 32{b) FRCrP on l

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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Honorable J ames Todd
US DISTRICT COURT

